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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


     UNITED STATES OF AMERICA

                        v.
                                                           No. 22-cr-15 (APM)
     EDWARD VALLEJO,
                                   Defendant.



     CORRECTED REPLY TO GOVERNMENT’S OPPOSITION TO DEFENDANT’S
          MOTION FOR CONDITIONAL RELEASE PENDING APPEAL

       The defendant, Edward Vallejo, through counsel, respectfully submits the following points

and authorities in support of his motion for release pending appeal.

                                          ARGUMENT

A.     This Court has already determined that Vallejo is not a danger to the community.

       The government argues that Mr. Vallejo failed to show he is not a danger to the community

based on facts underlying his convictions. ECF 864 at 12. On the contrary, this Court has already

determined that standard conditions of release “will reasonably assure the appearance of the per-

son as required and the safety of any other person and the community.” 18 U.S.C. § 3142(g) (em-

phases added). The Court’s ruling has been confirmed by Mr. Vallejo’s exemplary performance

on pretrial release and his voluntary surrender. The Court’s previous determination that he is safe

to be in the community should be considered the law of the case because Mr. Vallejo has only

requested release on the same conditions as his pretrial release. ECF 863 at 16; see ECF 486 (re-

lease conditions). The government points to no intervening fact that would alter the Court’s pretrial

release determination that the safety of the community would not be jeopardized by conditional

release.

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       The law of the case doctrine is a prudential bar that “directs a court not to alter a previous

judicial determination unless unusual circumstances are present.” United States v. Eilberg, 553

F. Supp. 1, 3 (D.D.C. 1981). “[T]he same issue presented a second time in the same case in the

same court should lead to the same result.” LaShawn A. v. Barry, 87 F.3d 1389, 1393 (D.C. Cir.

1996) (en banc) (emphases in original). While this Court can reconsider its decision that the safety

of the community would not be jeopardized by conditional release, the Court should only do so in

“extraordinary circumstances.” Eilberg, 553 F. Supp. at 3. The Court would be evaluating whether

the previous decision was “clearly erroneous and would work a manifest injustice.” LaShawn A.,

87 F.3d at 1093-94.

       Here, no such claim has been made by the government, nor could it be. The government’s

extensive recounting of the events of January 6 — with few references to actual conduct by Mr.

Vallejo — were well known to the Court both before trial and certainly after trial and sentencing,

when the Court determined that it was safe to permit Mr. Vallejo to return home to Arizona and

prepare to self-surrender. Nothing in the factual recitation takes away from this Court’s § 3142(g)

determination that he can be safely released on the same conditions as his pretrial release. Mr. Val-

lejo has continuously demonstrated that he is not a danger by his compliance with pretrial release,

his voluntary surrender, and his completion of much of the sentence imposed.

B.     Substantial questions exist that are likely to result in vacatur or a reduced sentence.

       The government’s claims regarding the substantial questions on appeal misstate the stand-

ard and underestimate the seriousness of the questions raised in this novel context. First, the correct

legal standard divides the statutory question into two parts: “(1) Does the appeal raise a substantial

question? (2) If so, would the resolution of that question in the defendant's favor be likely to lead

to reversal?” United States v. Perholtz, 836 F.2d 554, 555 (D.C. Cir. 1987). Instead, throughout its

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brief, government conflates two separate aspects of the standard by suggesting Mr. Vallejo must

show that the appeal of his case “likely will lead to reversal.” ECF 864 at 1; accord at 13, 22, 23,

25-26. But the initial question does not require a likelihood of success, only that the question is

substantial — that is, a “close question or one that very well could be decided the other way.” Id.

The government’s repeated use of “likely” only applies to the potential consequences from pre-

vailing on the substantial issues raised, not the initial question of whether Mr. Vallejo is raising

substantial questions on appeal.

       Second, the questions raised in this appeal are both substantial and, if Mr. Vallejo prevails,

likely to have consequences leading to reversal, a new trial, or a reduced sentence. On the issues

related to 18 U.S.C. § 1512, the government asserts that the Court’s consideration of the Fischer

grant of the writ of certiorari is “premature.” ECF 864 at 13. But that is not the test for whether an

issue is substantial. The grant of the writ demonstrates that the question is substantial. Not until

the Supreme Court speaks would we know the scope and potential consequences of a decision

favorable to Mr. Vallejo. The claim that other counts would be “unaffected” amounts to a request

for an advisory opinion: the serious issues raised in Fischer cannot be fully evaluated until issuance

of the decision. Further, the government does not even address the potential issues raised by the

concurring opinion in the appellate court’s decision regarding the definition of “corruptly.”

ECF 863 at 6-7 (citing United States v. Fischer, 64 F.4th 329, 352 (D.C. Cir. 2023) (Walker, J.,

concurring in part)). Mr. Vallejo’s appeal regarding the issues raised in Fischer are substantial and

warrant release pending appeal.

       Similarly, the government argues that the Brock appeal does not affect sentencing based

on what would be an advisory opinion regarding the outcome of a remand. ECF 864 at 14-22. The



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government mischaracterizes the question before the Court: the only question is whether an issue

on appeal is substantial and would likely result in a different outcome. Instead, the government

devotes pages to speculation about different outcomes depending on potential variances and de-

partures. In doing so, the government utterly ignores the applicable Supreme Court case law re-

garding the effect of Guidelines errors as requiring remand and reconsideration. ECF 863 at 8-9.

In short, the government’s request for the Court to consider departures and variances is not ripe

until the appellate court has ruled and remanded to return to this Court jurisdiction to consider its

sentence (the government in footnote 1 appears to acknowledge that the appeal divests jurisdiction

over aspects of the case involved in the appeal).

       The government incorrectly claims that the defense believes the invalid specific offense

characteristics “automatically” results in a significant sentence reduction. ECF 864 at 14. Not so.

The defense cited to the Supreme Court authority indicating that Guidelines errors would result in

a substantially lower starting point or anchor for the sentence ultimately imposed, but never

claimed the Court at a resentencing “automatically” would do anything except resentence based

on the facts before it at the time of resentencing. See Pepper v. United States, 562 U.S. 476, 491-

93 (2011) (finding that post-sentencing factors help to inform almost every aspect of federal sen-

tencing). The government does not suggest that any of the aggravating facts potentially asserted at

the resentencing were not well-known to the Court at the time the downward variance was granted.

The Court should not engage in the government’s request for a hypothetical resentencing until the

case is ripe, and, by remand, jurisdiction is lodged once again in the district court. Until then, the

substantial decrease in the starting point for sentencing alone warrants release pending appeal.




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       The government also asserts that the Court’s thoughtful decision on “execution of any law”

under the seditious conspiracy statute leaves no room for meaningful appellate review. ECF 864

at 22. Respectfully, the Court’s extensive consideration of the statute demonstrates that the defense

motion raised substantial issues: if the answer were obvious, no serious analysis would be required.

The government does not address the arguments for a limited construction of the statute based on

Supreme Court authority in Bowsher v. Synar, 478 U.S. 714 (1986), and Buckley v. Valeo, 424

U.S. 1 (1976). ECF 863 at 9-10. The defense respectfully suggests that its construction should

prevail under the plain language of the statute, raising at least a substantial question.

       Further, given both the doctrine of constitutional avoidance and the narrow construction of

criminal statutes, the Court’s conclusion that the government has the better reading of the statute

does not mean that a plausible alternative would not ultimately be accepted by an appellate court.

See Clark v. Martinez, 543 U.S. 371, 380-81 (2005) (“[W]hen deciding which of two plausible

statutory constructions to adopt, a court must consider the necessary consequences of its choice.

If one of them would raise a multitude of constitutional problems, the other should prevail—

whether or not those constitutional problems pertain to the particular litigant before the Court.”);

United States v. Wiltberger, 18 U.S. 76, 95 (1820) (“The rule that penal laws are to be construed

strictly, is perhaps not much less old than construction itself.”). The serious questions on appeal

should preserve Mr. Vallejo’s ability to challenge the district court’s rulings while on conditional

release.

       The defense also presents a substantial issue on appeal regarding the sufficiency of the

evidence for the charged conspiracy. ECF 863 at 10-15. Although the government acknowledges

that Mr. Vallejo was not present at the Capitol, ECF 864 at 25, the government fails to engage with



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the significant ramifications of this fact; for example, the defense adduced evidence and argued

that:

        •     Because he was not there when individual Oath Keepers discussed going in to stop

              the vote, any conviction of Mr. Vallejo for conduct requiring the specific intent to

              disrupt Congress (as opposed to generally opposing the transfer of power) must

              uniquely rely on inferences.

        •     He did not express any desire to interrupt the certification and expressed excitement

              about anticipated objections in the proceeding.

        •     He was not a participant in prior Oath Keeper chats or conference calls, coming to

              Washington independently to “support the process.”

        •     He was wandering around downtown looking for his truck when the certification

              started and condemned violence at the Capitol as “domestic terrorism.”

        •     From seven miles away from the events at the Capitol, he did not communicate

              with any other Oath Keepers by phone or text during the events at the Capitol, was

              never given any weapons to store by any other Oath Keepers and, had never been

              seen or known by any of the Oath Keepers who entered the Capitol.

        •     He offered his trucks and assistance well before there was a conspiratorial agree-

              ment by those who entered the Capitol.

See generally ECF 477-1, 536. The government argues that Mr. Vallejo “manifested his assent [to

interrupt Congress] from the messages he sent while serving as the quick reaction force” and “of-

fering to activate the QRF … to transport weapons into the hands of his co-conspirators on the

ground.” ECF 864 at 25. Because he did not expressly state a willingness to bring weapons into



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the District of Columbia, the government’s conclusion requires stacking inferences: (1) that he

meant an armed quick reaction force, although the truck was not armed; (2) that the quick reaction

force was to join in an attack, rather than to extract individuals from danger, as Mr. Vallejo dis-

cussed the rest of the afternoon; and (3) that he knew co-conspirators would decide to enter the

Capitol and stop the certification, even though the decision was made on the steps of the Capitol

without his participation.

       While this Court reached the conclusion that such inferences were reasonable for the jury

to make, a reviewing Court could take a different view. On appellate review, three “layer[s] of

inference” was insufficient even under the far-more forgiving standard of “probable cause.” United

States v. Griffith, 867 F.3d 1265, 1273, 1278 (D.C. Cir. 2017); see also Ingram v. United States,

360 U.S. 672, 680 (1959) (“charges of conspiracy are not to be made out by piling inference upon

inference.”). It is at least a close question whether the combined inferences required here for some-

one seven miles away veer too far into “conjecture and surmise regarding what a defendant may

have intended or known,” which “is insufficient to support a conviction in a conspiracy case.”

United States v. Stone, No. 10-20123, 2012 WL 1034937, at *10 (E.D. Mich. Mar. 27, 2012) (ci-

tation and quotation marks omitted). There are legitimate reasons to question how many chains of

inferences can be put together before falling below the very high beyond-a-reasonable-doubt

standard.

       Significantly, the evaluation of sufficiency must also occur in the context protecting speech

and narrowly construing criminal liability. ECF 863 at 13-14 see United States v. Dellinger, 472

F.2d 340, 392 (7th Cir. 1972) (stating that, when an alleged conspiracy implicates First Amend-

ment protections such as freedom of speech and freedom of association, the court must make a



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“specially meticulous inquiry” into the government’s evidence so there is not “an unfair imputation

of the intent or acts of some participants to all others”); Stone, 2012 WL 1034937 at *3 (holding

that the Court must take “particular care to analyze the evidence against each defendant to deter-

mine whether it is capable of convincing beyond a reasonable doubt” when the proof involves

political speech and association). While the government scoffs at the notion that Mr. Vallejo was

engaged in “political hyperbole,” ECF 864 at 25, the fact remains that many if not most of the

words that form the basis for the government’s arguments are on a par with protected political

expressions that fill the news cycle today, certainly within the scope of the words of “war” that

filled the trial record in Stone, where the court found the evidence of seditious conspiracy insuffi-

cient in light of the need to protect political speech.

        Although the Court found Stone distinguishable, there is at least a substantial question that

an appellate court could come to a different conclusion. Given the government’s reliance on the

breadth of the indictment and a mere “implicit agreement,” the reviewing court could apply the

strong precedent protecting general expressions of willingness to take unlawful actions and require

a level of specificity related to the agreement that was not established in this case. The Court’s

reliance on reasonable foreseeability is fairly debatable when Mr. Vallejo’s statements referenced

violence after the certification.

        Mr. Vallejo is neither a flight risk nor a danger to the community. He only asks for release

on the same conditions as his pretrial conditional release and post-verdict release pending his self-

surrender, which is consistent with the restrictive conditions the Court ordered for the first year of

supervised release. He raises real issues that have merit and that at least pass the standard for

allowing the full punishment to be suspended while the appellate court considers the case and



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while any decisions are addressed by this Court on remand based on the undisputed sentencing

errors.


                                          Respectfully submitted,

                                           s/ Stephen R. Sady         .
                                          Stephen R. Sady
                                          Chief Deputy Defender for the
                                          District of Oregon
                                          101 SW Main Street, Suite 1700
                                          Portland, OR 97204
                                          (503) 326-2123

                                          Kurt D. Hermansen
                                          Supervisory Assistant Federal Defender
                                          859 Willamette Street, Suite 200
                                          Eugene, OR 97401
                                          (541) 465-6937




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